      Case 4:12-cr-00186-DPM    Document 465   Filed 10/20/16   Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       WESTERN DIVISION

UNITED STATES OF AMERICA                                          PLAINTIFF

v.                          No. 4:12-cr-186-DPM-8

HUNTER GLADDEN                                                  DEFENDANT

                                   ORDER

      1. The United States' oral motion to dismiss the superseding petition,

NQ 43 7, without prejudice is granted.

      2. For the reasons stated on the record at the 20 October 2016 hearing,

the Court modifies Gladden's conditions of supervised release as set out

below.   With the advice of counsel, Gladden consented to these three

modifications:



      • Gladden must remain in chemical-free living for the next six
         months. His treatment needs will be reassessed after that time
         expires.


      • Gladden must disclose his substance abuse history-including
         past abuse with prescription medications and opiates -to any
         prescribing physicians. Gladden agrees to allow the probation
         office to verify these disclosures.
      Case 4:12-cr-00186-DPM    Document 465    Filed 10/20/16   Page 2 of 2




      • Gladden must perform forty hours of community service,
         under the guidance and supervision of the probation office,
         within the next year. At least two of those hours must be
         completed by attending a Mothers Against Drunk Driving
         Victim Impact Panel.

All other conditions of supervised release, NQ 374 at 3-4, remain in effect.

      So Ordered.



                                    D.P. Marshall Jr. "
                                    United States District Judge
